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     THOMAS A. JOHNSON, SBN 119203
 1   Kristy M. Horton, SBN 271250
     Law Office of Thomas A. Johnson
 2   400 Capital Mall, Suite 2560
     Sacramento, CA 95814
 3   Telephone: (916) 442-4022
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 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                )    Case No. 2:17-cr-00155-MCE
11   UNITED STATES OF AMERICA,                  )
               Plaintiff,                       )
12                                              )    STIPULATION AND ORDER FOR
13
           vs.                                  )    CONTINUANCE OF STATUS
                                                )    CONFERENCE
14   LUIS NUNEZ,                                )
     PABLO VARGAS, and                          )    Date: 7/25/19
15   GREGORIO NUNEZ,                            )    Time: 10:00 a.m.
                                                )    Judge: Morrison C. England, Jr.
16                Defendants.                   )
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18
                                         STIPULATION
19
20         The United States of America through its undersigned counsel, James Conolly,
21   Assistant United States Attorney, together with Thomas A. Johnson, counsel for Gregorio
22   Nunez, Armando Villapudua, counsel for Luis Nunez, and T. Lance Archer, counsel for
23   Pablo Vargas, hereby stipulate the following:
24      1. By previous order, this matter was set for Status Conference on July 25, 2019.
25      2. By this stipulation, Defendant now moves to continue the Status Conference to
26         September 19, 2019, at 10:00 a.m. and to exclude time between July 25, 2019, and
27         September 19, 2019, under the Local Code T-4 (to allow defense counsel time to
28         prepare).

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 1         3. The parties agree and stipulate, and request the Court find the following:
 2            a. A continuance is requested because attorney for the defendant, Gregorio
 3               Nunez, was recently substituted into this case and needs additional time to
 4               review the discovery, conduct investigation, and discuss a potential resolution.
 5               Attorney for defendant believes the failure to grant a continuance in this case
 6               would deny defense counsel reasonable time necessary for effective
 7               preparation, taking into account the exercise of due diligence. An extension is
 8               necessary for the continuity of defense counsel as well.
 9            b. The Government does not object to the continuance.
10            c. Based on the above-stated findings, the ends of justice served by granting the
11               requested continuance outweigh the best interests of the public and the
12               defendants in a speedy trial within the original date prescribed by the Speedy
13               Trial Act.
14            d. For the purpose of computing time under the Speedy Trial Act, 18 United
15               States Code Section 3161(h)(7)(A) within which trial must commence, the
16               time period of July 25, 2019, to September 19, 2019 inclusive, is deemed
17               excludable pursuant to 18 United States Code Section 3161(h)(7)(A) and
18               (B)(iv), corresponding to Local Code T-4 because it results from a continuance
19               granted by the Court at defendant’s request on the basis of the Court’s finding
20               that the ends of justice served by taking such action outweigh the best interest
21               of the public and the defendant in a speedy trial.
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 1      4. Nothing in this stipulation and order shall preclude a finding that other provisions
 2         of the Speedy Trial Act dictate that additional time periods are excludable from
 3         the period within which a trial must commence.
 4
 5   IT IS SO STIPULATED.
 6   DATED: July 10, 2019                     By:     /s/ Thomas A. Johnson_____
                                                      THOMAS A. JOHNSON
 7                                                    Attorney for Gregorio Nunez
 8
 9
10
     DATED: July 10, 2019                             McGREGOR W. SCOTT
11                                                    United States Attorney
12                                            By:    /s/ James Conolly            _______
                                                      JAMES CONOLLY
13                                                    Assistant U.S. Attorney
14
15   DATED: July 10, 2019                     By:     /s/ Armando Villapudua_____
                                                      ARMANDO VILLAPUDUA
16                                                    Attorney for Luis Nunez
17
     DATED: July 10, 2019                     By:     /s/ T. Lance Archer_____
18                                                    T. LANCE ARCHER
                                                      Attorney for Pablo Vargas
19
20                                           ORDER
21         IT IS SO ORDERED.
22   Dated: July 17, 2019
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